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                      DECLARATION OF ELISHA DUNN-GEORGIOU

I, Elisha Dunn-Georgiou, declare as follows:

       1.      I am the President and CEO at the Global Health Council (GHC). The statements
made in this declaration are based on my personal knowledge and my understanding of
information made available to me pursuant to my duties at Global Health Council.

       2.      Plaintiff GLOBAL HEALTH COUNCIL (“GHC”) is a private, not-for-profit,
membership alliance incorporated in Delaware and enjoying tax-exempt status under Section
501(c)(3) of the Internal Revenue Code. GHC’s business address is 2300 N Street NW, Suite
501A, Washington, DC 20037.

        3.    On February 18, 2025, I received a call informing me that State Department
grants had been placed on a 15-day disbursement pause. I was provided a copy of an internal
email from a State Department official, which stated (all emphasis is from the original email):

       “Colleagues,

               Secretary Rubio has implemented a 15-day disbursement pause on all $15.9B
       worth of grants at the State Department. During this pause, SBO Meyer and others in
       the Front Office will review all SCA grants and provide a recommendation to the S office
       on whether to keep or terminate the grant. Your informed assessment of grants at your
       post is essential.

       ACTION REQUEST: Please respond by Washington OOB February 18.

              Work with your teams to review grants for your post (see attached spreadsheet)/
              Provide COM recommendation in Column R – ‘Keep’ or ‘Terminate.’ If you
               select ‘Keep’, please write a one-line justification in column S. Nothing is
               required in Section S if you select ‘Terminate’. (If awards have already been
               terminated prior to 2/12/25, type ‘Already Terminated’ in Column R.)
              Please scrutinize your grants and thoroughly assess them based on whether they
               make American safer, stronger, or more prosperous. Please also review the
               President’s executive orders and recommend termination of grants that do not
               comply with those orders.”

       4.       I am not attaching the email as an exhibit to this declaration to protect the
confidentiality of the person who shared it with me, who could face retribution by Defendants. I
can make it available for the Court to review it in camera if requested.

      5.     On February 19, 2025, I surveyed the members of GHC that are USAID
implementing partners. Twenty-three member organizations responded. Of those 23
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organizations, 4 are prime recipients of USAID funding; 7 are sub recipients; and 12 are both a
prime and sub recipient.

      6.    Of the 23 survey respondents, 22 organizations had not received any payment
from USAID whatsoever since January 24, 2025.

       7.      The one organization that had received payment since January 24 is an HIV
organization that received a partial payment on a joint CDC and USAID contract.

        8.     Attached as Exhibit A is a true and correct copy of a letter sent from
USAID/Democratic Republic of Congo to USAID/DRC Implementing Partners on February 18,
2025. The letter states: “Please also note that the Agency is continuing to work on issues related
to the delayed payments of invoices and will advise of any developments.”

         9.      Attached as Exhibit B is a true and correct copy of a letter sent from
USAID/Mexico to USAID/Mexico Implementing Partners on February 18, 2025. The letter
states: “Despite the blanket pause being lifted, I regret to inform you that our payment systems
are still not fully functional. We have not yet processed past pending payments and have no
assurances regarding future invoices and the duration before payment. I will let you know as
soon as I have more information in this regard.”

         10.   Attached as Exhibit C is a true and correct copy of a letter sent from
USAID/Vietnam to USAID/Vietnam Implementing Partners on February 20, 2025. The letter
states: “We must caution all partners that USAID/Vietnam does not currently have the capability
to process approved vouchers in a timely manner. Although we hope that new voucher
procedures will be established that allow us to process legitimate vouchers quickly, we wanted to
make you aware of these technical difficulties as you plan how to move forward with your
awards. USAID/Vietnam will continue to do everything within our power to ensure that the U.S.
government meets all its contractual obligations in a timely and professional manner. This notice
is not an acknowledgement of anticipatory breach, we hope to be able to repair our payment
systems and processes before a breach occurs.”


Executed on February 20, 2025 in Washington, D.C.




                                                     Elisha Dunn-Georgiou
                                                     President and CEO
                                                     Global Health Council
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                           Exhibit A
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February 18, 2025

To:             USAID/DRC Implementing Partners

Subject:        Cancellation of Stop Work Order/Suspension for USAID/DRC Awards

Reference:
1) Temporary Restraining Order (TRO) of the U.S. District Court for the District of Columbia, in cases titled
AIDS Vaccine Coalition v. U.S. Department of State and Global Health Council v. Trump, dated February
13, 2025.
2) Stop Work Order/Suspension of USAID/DRC Awards dated January 27, 2025.
3) Notice on Implementation of Executive Order: Reevaluating and Realigning United States Foreign Aid.
4) Notice on Implementation of Executive Order: Ending Radical and Wasteful Government DEI Programs
and Preferencing.

Dear Implementing Partner:

Pursuant to the Temporary Restraining Order (TRO), the Contracting/Agreement Officer cancels the stop
work/suspension of your award and for any sub-contractor(s)/subawardees(s).

Work in accordance with section C of a contract or Program Description of an assistance award may
resume except for any and all work related to Diversity, Equity, Inclusion, and Accessibility (DEIA)
activities, as previously certified. USAID plans to modify awards to remove DEIA-related language when
Agency systems allow.

Implementing Partners may resume coordination with the USAID award management team (ie.
AOR/CORs) in performing the activities of their award.

Please also note that the Agency is continuing to work on issues related to the delayed payments of
invoices and will advise of any developments. IPs are reminded that they must not incur costs which will
cause them to exceed the obligated amounts in their award.

Further, please respond with confirmation of receipt of this letter to drcoaa@usaid.gov with a copy to
your A&A Specialist, COR/AOR, and the Contracting/Agreement Officer.

Sincerely,
                           Digitally signed by Gregory S.
                           Wang
                           Date: 2025.02.18 19:21:06 -05'00'

Gregory Wang
Contracting/Agreement Officer
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                           Exhibit B
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   OAA/Mexico Notice 2025-006: Suspending Blanket Pause on Foreign Assistance
                           (versión espaňol de cortesía abajo)


Date:            February 18, 2025
Subject:         OAA/Mexico Notice 2025-006:
                 Suspending Blanket Pause on Foreign Assistance
Audience:        All Implementing Partners

Dear Implementing Partners,

In accordance with the cases titled AIDS Vaccine Coalition v. U.S. Department of State
and Global Health Council v. Trump, the U.S. District Court for the District of Columbia
entered a temporary restraining order against the Department of State, USAID, and
OMB that prevents “enforcing or giving effect to Sections 1, 5, 7, 8, and 9 of Dep’t of
State, Memorandum, 25 STATE 6828 (January 24, 2025) and any other directives that
implement Sections 3(a) and 3(c) of Executive Order Number 14169, ‘Reevaluating
and Realigning United States Foreign Aid’ (January 20, 2025),” including by
“suspending, pausing, or otherwise preventing the obligation or disbursement of
appropriated foreign-assistance funds in connection with any contracts, grants,
cooperative agreements, loans, or other federal foreign assistance award that was in
existence as of January 19, 2025,” or “issuing, implementing, enforcing, or otherwise
giving effect to terminations, suspensions, or stop-work orders in connection with
any contracts, grants, cooperative agreements, loans, or other federal foreign
assistance award that was that was in existence as of January 19, 2025.”

According to this court order and a message issued by the USAID Senior
Procurement Executive, this notice serves to lift any pause, suspension, or
stop-work order you received on January 24, 2025. The suspension of the pause on
foreign assistance is subject to pending litigation. I have also attached a February 15,
2025 notification to Implementing Partners from the USAID Industry Liaison.

Work in accordance with Section C of a contract or Program Description of an
assistance award may resume except for any and all work related to Diversity, Equity,
Inclusion, and Accessibility (DEIA) activities, as previously certified. USAID plans to
modify awards to remove DEIA-related language when Agency systems allow.

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Despite the blanket pause being lifted, I regret to inform you that our payment
systems are still not fully functional. We have not yet processed past pending
payments and have no assurances regarding future invoices and the duration before
payment. I will let you know as soon as I have more information in this regard.

Thank you for your continuing partnership and patience. If you have any questions,
contact me at: mexico.oaa@usaid.gov.

Sincerely,
                Digitally signed by
Andrea          Andrea Capellan
                Date: 2025.02.18
Capellan
Andrea Capellán 12:33:38 -06'00'
Supervisory Contracting and Agreement Officer
Office Director, Office of Acquisition and Assistance, USAID/Mexico




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 Aviso de OAA/México: 2025-005: Suspensión de la pausa general para la asistencia
                                   exterior
Fecha:           18 de febrero de 2025
Asunto:          Aviso de OAA/México: 2025-006: Suspensión de la pausa general para la
                 asistencia exterior

Audiencia:       Todos los socios implementadores

Estimados socios implementadores:

De acuerdo con los casos titulados AIDS Vaccine Coalition v. U.S. Department of State
y Global Health Council v. Trump, el Tribunal de Distrito de EE. UU. para el Distrito de
Columbia emitió una orden de restricción temporal contra el Departamento de
Estado, USAID y OMB que impide “hacer cumplir o dar efecto a las Secciones 1, 5, 7, 8
y 9 del Memorando del Departamento de Estado, 25 STATE 6828 (enero 24, 2025) y
cualquier otra directiva que implemente las Secciones 3(a) y 3(c) de la Orden
Ejecutiva Número 14169, “Reevaluating and Realigning United States Foreign Aid"
(20 de enero de 2025)”, incluyendo “suspender, pausar o impedir de otro modo la
obligación o el desembolso de fondos para la asistencia exterior asignados en
relación con cualquier contrato, subvención, acuerdo de cooperación, préstamo u
otra concesión de asistencia exterior federal que existiera al 19 de enero de 2025” o
“emitir, implementar, hacer cumplir o dar efecto a terminaciones, suspensiones u
órdenes de suspensión de trabajo en relación con cualquier contrato, subvención,
acuerdo de cooperación, préstamo u otra concesión de asistencia federal exterior
que existiera al 19 de enero de 2025.”

De acuerdo con esta orden judicial y un mensaje emitido por el Alto Directivo de
Adquisiciones de USAID, este aviso sirve para levantar cualquier orden de pausa,
suspensión o suspensión de trabajo recibida el 24 de enero de 2025. La suspensión
de la pausa para la asistencia exterior está sujeta a un litigio. Además, adjunto esta
una notificación del 15 de febrero de 2025 a los socios implementadores por parte de
USAID Industry Liaison.

El trabajo de acuerdo con la Sección C de un contrato o la Descripción del Programa
de un acuerdo de asistencia puede reanudarse, excepto para cualquier trabajo
relacionado con actividades de Diversidad, Equidad, Inclusión y Accesibilidad (DEIA
por sus siglas en inglés), como se certificó anteriormente. USAID planea modificar las


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adjudicaciones para eliminar el lenguaje relacionado con DEIA cuando los sistemas de
la Agencia lo permitan.

A pesar de que la suspensión general ha sido levantada, lamento informarle que
nuestros sistemas de pago aún no están completamente operativos. Todavía no
hemos procesado los pagos pendientes anteriores y no tenemos garantías con
respecto a futuras facturas ni el tiempo que tomará el pago. Le informaré tan pronto
como tenga más información al respecto.

Agradecemos su continua colaboración y paciencia. Si tiene alguna pregunta,
contácteme en: mexico.oaa@usaid.gov .

Sinceramente,

Andrea Capellán

Oficial Supervisor de Contratos y Convenios, Directora de la Oficina de Contratos y
Convenios de USAID/México




*Esta es solo una traducción de cortesía. En caso de cualquier discrepancia entre la
versión en inglés y la traducción al español, la versión en inglés tiene prioridad.

*This is only a courtesy translation. In the case of any discrepancy between the
English version and the Spanish translation, the English version takes precedence.




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                            Exhibit C
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February 20,2025


Dear Valued USAID Vietnam Partners,

Executive order titled “Ensuring Accountability to All Agencies“ states in Section 7 that: “no
employee of the executive branch acting in their official capacity may advance an interpretation
of the law as the position of the United States that contravenes the President or the Attorney
General’s opinion on a matter of law, including but not limited to the issuance of regulations,
guidance, and positions advanced in litigation, unless authorized to do so by the President or in
writing by the Attorney General.” I have not been authorized to interpret positions advanced in
litigation and cannot provide further guidance relating to the contents of the TRO.

However, Vietnam/OAA has received the following direction from Washington in an email titled
“Notice to USAID A&A Staff to Suspend Blanket Pause on Foreign Assistance” from the Senior
Procurement Executive stating that: “until further notice, all Contracting and Agreement Officers
should not enforce any Agency directive issued under Executive Order 14169 and the
Secretary’s implementing memorandum that requires the generalized stop work, suspension, or
pause of Agency contracts, grants, or other federal assistance awards.”

We must caution all partners that USAID/Vietnam does not currently have the capability to
process approved vouchers in a timely manner. Although we hope that new voucher
procedures will be established that allow us to process legitimate vouchers quickly, we wanted
to make you aware of these technical difficulties as you plan how to move forward with your
awards. USAID/Vietnam will continue to do everything within our power to ensure that the U.S.
government meets all its contractual obligations in a timely and professional manner. This notice
is not an acknowledgement of anticipatory breach, we hope to be able to repair our payment
systems and processes before a breach occurs.

Finally, I want to acknowledge receipt of your many legitimate questions and concerns. I realize
that this letter does not answer the majority of those questions. Further communications will be
forthcoming if and when I am authorized to do so.


Sincerely,
                       Digitally signed by Patrick

Patrick Kollars Kollars
                Date: 2025.02.20 13:40:47
                       +07'00'

Patrick Kollars
Supervisory Contracting/Agreement Officer
USAID Vietnam
